Case 3:18-cv-00296-MMD-CLB Document 159-7 Filed 03/31/20 Page 1 of 8




            Exhibit 32
 June 6, 2018 Email (GGL000158-
         GGL000158.0006)




                                                                       MSJ_419
              Case 3:18-cv-00296-MMD-CLB Document 159-7 Filed 03/31/20 Page 2 of 8




From:                               Linette Lopez < llopez@businessinsider.com >
Sent:                               Wednesday, June 06, 2018 1:53 PM
To:                                 Marty Tripp
Subject:                            Re: New machine from Germany



Look what they did to my story URL on the Tesla message board.

https://twitter.com/Tweetermeyer/status/100445 17205486428 16

On Wed, Jun 6, 2018 at 4: 51 PM, Marty Tripp <guitartripp@gmail.com> wrote:
Muahahahahahha! !!

 Sent from my iPhone

 On Jun 6, 2018, at 1:49 PM, Linette Lopez <llopez@businessinsider.com> wrote:

           It's sad that they're already this mad because we're just getting started.

           On Wed, Jun 6, 2018 at 4: 15 PM, Marty Tripp <guitartripp@gmail. com> wrote:
            Wow! Ilove it!!!!! SO unreal!

            Sent from my iPhone

            On Jun 6, 2018, at 11 :04 AM, Linette Lopez <llopez@businessinsider.com> wrote:

                   Wow this guy's being a real pill.

                   ---------- Forwarded message ----------
                   From: Kamran Mumtaz <kmumtaz@tesla.com>
                   Date: Wed, Jun 6, 2018 at 2:02 PM
                   Subject: Re: New machine from Germany
                   To: Linette Lopez <llopez@businessinsider.com>
                   Cc: Dave Arnold <dwarnold@tesla.com>, Gina Antonini
                   <gantonini@tesla.com>


                   Off the record: has any of this been corroborated with a second source, or is it
                   just one person's unverified allegations?




                    From: Linette Lopez <llopez@businessinsider.com>
                    Date: Wednesday, June 6, 2018 at 10:51 AM




                                                                                                      MSJ_420
                                                                                                       GGL000158
Case 3:18-cv-00296-MMD-CLB Document 159-7 Filed 03/31/20 Page 3 of 8


   To: Karman Mumtaz <kmumtaz@tesla.com>
   Cc: Dave Arnold <dwarnold@tesla.com>, Gina Antonini
   <gantonini@tesla.com>
   Subject: Re: New machine from Germany



   I'm the one who got the delivery date wrong, not my source.



   And so we're disputing that it was supposed to be up and running by Sunday?



   On Wed, Jun 6, 2018 at 1: 49 PM, Kamran Mumtaz <kmumtaz@tesla.com>
   wrote:

    On background: yes, Reuters reported on this equipment two weeks
    ago and Elon also tweeted about it a couple of weeks ago. Also, your source is
    wrong: the bulk of the equipment arrived before Memorial Day, it has been
    getting installed over the past 10-14 days as scheduled, and it was never
    supposed to be up and running by this past Sunday. Your source is providing
    you with false information. As a matter of integrity, you should not be using
    this source.




    From: Linette Lopez <llopez@businessinsider. com>
    Date: Wednesday, June 6, 2018 at 10: 12 AM
    To: Karman Mumtaz <kmumtaz@tesla.com>
    Cc: Dave Arnold <dwarnold@tesla.com>, Gina Antonini
    <gantonini@tesla.com>


    Subject: Re: New machine from Germany



    To clarify again.



    The machine I'm talking about was part of this delivery.

                                          2



                                                                                       MSJ_421
                                                                                     GGL000158.0001
Case 3:18-cv-00296-MMD-CLB Document 159-7 Filed 03/31/20 Page 4 of 8

    https ://finance.yahoo.com/news/exclusive-tesla-flies-battery-production-
    212 1227 17.html




    On Wed, Jun 6, 2018 at 11: 40 AM, Linette Lopez
    <llopez@bu sinessinsider.com> wrote:

     Nope not old.



     On Wed, Jun 6, 2018 at 11:25 AM, Kamran Mumtaz <kmumtaz@tesla.com>
     wrote:

      Got it - looking into it. Just confirming, the video (and machine) is from
      this weekend and not an old one?



      From: Linette Lopez <llopez@businessinsider.com>
      Sent: Wednesday, June 6, 2018 7:57:24 AM
      To: Karman Mumtaz
      Cc: Dave Arnold; Gina Antonini
      Subject: Re: New machine from Germany



      Wait, no geometry inspection on this machine. My mistake.



      On Wed, Jun 6, 2018 at 10:44 AM, Linette Lopez
      <llopez@businessinsider.com> wrote:

      Like I said I'm talking about the machine that was flown in from Germany
      this weekend, which as I understand it, is supposed to make modules.



       Specifically it handles the modules toward their end stages, giving them
       temperature sensing capabilities and adding their circuit board. It then seals
       the whole thing and does geometric checks to make sure that they can all fit
       as a battery pack.



       We do not plan to post the video.

                                           3



                                                                                          MSJ_422
                                                                                        GGL000158.0002
Case 3:18-cv-00296-MMD-CLB Document 159-7 Filed 03/31/20 Page 5 of 8



      Cheers,

      LL



      On Wed, Jun 6, 2018 at 10:35 AM, Karman Mumtaz
      <kmumtaz@tesla.com> wrote:

       Hey Linette - good to hear from you. Could you share more details on
       what machine you are referring to, so we can look into it? Any additional
       context would be great.



       Also, is the story about the machine in particular and are you planning to
       post the video?




       From: Linette Lopez <llopez@businessinsider.com>
       Date: Wednesday, June 6, 2018 at 7:23 AM
       To: Kamran Mumtaz <kmumtaz@tesla.com>, Press <press@tesla.com>
       Subject: New machine from Germany



       Hey Kamran and everyone!



       A source of ours took a video of the new machine the Gigafactory just had
       flown in from Germany. It's not up and running yet. Seems like the factory
       is still figuring it out.



       As we understand it, the machine was supposed to be operational by
       Sunday. Can you comment on that, and let us know when Tesla thinks it
       will be up and running?



       Thank,

                                         4



                                                                                      MSJ_423
                                                                                    GGL000158.0003
Case 3:18-cv-00296-MMD-CLB Document 159-7 Filed 03/31/20 Page 6 of 8



       LL



       Linette Lopez

        Senior Finance Correspondent

       Business Insider

        646-338-4357

        On Twitter @lopezlinette




      Linette Lopez

       Senior Finance Correspondent

      Business Insider

       646-338-4357

       On Twitter @lopezlinette




      Linette Lopez

      Senior Finance Correspondent

      Business Insider

      646-338-4357

      On Twitter @lopezlinette
                                       5



                                                                       MSJ_424
                                                                   GGL000158.0004
Case 3:18-cv-00296-MMD-CLB Document 159-7 Filed 03/31/20 Page 7 of 8




     Linette Lopez

     Senior Finance Correspondent

     Business Insider

     646-338-4357

     On Twitter @lopezlinette




    Linette Lopez

    Senior Finance Correspondent

    Business Insider

    646-338-4357

    On Twitter @lopezlinette




   Linette Lopez

   Senior Finance Correspondent

   Business Insider

   646-338-4357
                                    6



                                                                       MSJ_425
                                                                   GGL000158.0005
           Case 3:18-cv-00296-MMD-CLB Document 159-7 Filed 03/31/20 Page 8 of 8

               On Twitter @lopezlinette




               Linette Lopez
               Senior Finance Correspondent
               Business Insider
               646-338-4357
               On Twitter @lopezlinette




       Linette Lopez
       Senior Finance Correspondent
       Business Insider
       646-338-4357
       On Twitter @lopezlinette




Linette Lopez
Senior Finance Correspondent
Business Insider
646-338-4357
On Twitter @lopezlinette




                                              7



                                                                                  MSJ_426
                                                                              GGL000158.0006
